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USDCNH-96 (Rev. 7/14) Appearance of Counsel


                                    UNITED STATES DISTRICT COURT
                                                           for the
                                                District of New Hampshire


         Scottsdale Capital Advisors Corp., et al             )
                            Plaintiff                         )
                               v.                             )      Case No.
                    The Deal, LLC, et al                      )
                           Defendant                          )

                                              APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         the Defendants, The Deal, LLC and William Meagher                                                            .


Date:         12/22/2016                                                              /s/ Steven M. Gordon
                                                                                        Attorney’s signature


                                                                                     Steven M. Gordon #964
                                                                                    Printed name and bar number

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                 Case 1:16-cv-00545-JL Document 2 Filed 12/22/16 Page 2 of 2



                                           CERTIFICATE OF SERVICE

I hereby certify that this Appearance was served on the following persons on this date and in the manner
specified herein:

Electronically Served Through ECF:




Conventionally Served:
George R Moore, Esquire, Devine, Millimet & Branch, 111 Amhest St., Manchester, NH 03101
Charles J. Harder, Esquire, Harder, Mirell & Abrams, 132 S. Rodeo Dr., 4th Fl., Beverly Hills, CA 90212
Jordan Susman, Esquire, Harder, Mirell & Abrams, 132 S. Rodeo Dr., 4th Fl., Beverly Hills, CA 90212


         12/22/2016                                                         /s/ Steven M. Gordon
Date                                                       Signature




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